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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
Marco Antonio Carralero, et al.                                          CASE NUMBER:

                                                                                            SACV 23-01798-CJC (ADSx)
                                                      PLAINTIFF(S),
                                  v.
Rob Bonta, in his official capacity as Attorney General of
the State of California                                                                   NOTICE OF APPEAL
                                                  DEFENDANT(S).



NOTICE IS HEREBY GIVEN that Rob Bonta, in his official capacity as Attorney General                              hereby appeals to
                                                                    Name of Appellant
the United States Court of Appeals for the Ninth Circuit from:

 Criminal Matter                                                         Civil Matter
 □ Conviction only [F.R.Cr.P. 32(j)(1)(A)]                                  Order (specify):
 □ Conviction and Sentence                                                   Granting Motion for Preliminary Injunction (Dkt. 41)
 □ Sentence Only (18 U.S.C. 3742)
 □ Pursuant to F.R.Cr.P. 32(j)(2)                                        □ Judgment (specify):
 □ Interlocutory Appeals
 □ Sentence imposed:
                                                                            Other (specify):
                                                                            Preliminary Injunction (Dkt. 42)
 □ Bail status:




Imposed or Filed on                                      . Entered on the docket in this action on December 20, 2023                         .

A copy of said judgment or order is attached hereto.


December 22, 2023                                        /S/ Robert L. Meyerhoff
Date                                                     Signature
                                                         □ Appellant/ProSe              Counsel for Appellant          □ Deputy Clerk


Note:     The Notice of Appeal shall contain the names of all parties to the judgment or order and the names and addresses of the
          attorneys for each party. Also, if not electronically filed in a criminal case, the Clerk shall be furnished a sufficient number
          of copies of the Notice of Appeal to permit prompt compliance with the service requirements of FRAP 3(d).



A-2 (01/07)                                                 NOTICE OF APPEAL
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                        Attachment A
             Order Granting Motion for Preliminary Injunction (Dkt. 41)
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  8                        UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10                              SOUTHERN DIVISION
 11
      RENO MAY, et al.,                      )
                                             ) Case Nos.: SACV 23-01696-CJC (ADSx)
 12                                          )            SACV 23-01798-CJC (ADSx)
                  Plaintiffs,                )
 13                                          )
            v.                               )
 14                                          ) ORDER GRANTING PLAINTIFFS’
                                             ) MOTIONS FOR PRELIMINARY
 15
      ROBERT BONTA, in his official          ) INJUNCTION [May Dkt. 13; Carralero
                                             ) Dkt. 6]
 16   capacity as Attorney General of the    )
      State of California, and DOES 1-10,    )
 17                                          )
                                             )
 18               Defendant.                 )
                                             )
 19                      AND                 )
                                             )
 20                                          )
      MARCO ANTONIO CARRALERO, et )
 21   al.,                                   )
                                             )
 22                                          )
                  Plaintiffs,                )
 23                                          )
            v.                               )
 24                                          )
                                             )
 25
      ROB BONTA, in his official capacity as )
                                             )
 26   Attorney General of California,        )
                                             )
 27                                          )
                  Defendant.                 )
 28
                                             )
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 1    I.    INTRODUCTION
 2

 3          We live in dangerous times. Nearly every day, we are barraged with stories about
 4    school shootings, attacks on places of worship, and other unthinkable acts of violence and
 5    cruelty. Nor are our society’s problems limited to those acute acts of terror—daily our
 6    country faces prejudice and division of all types, economic uncertainty and poverty, a
 7    nationwide mental health crisis, and an epidemic of addiction and crime. The only hope
 8    to find in the face of such dire circumstances is that democracy, as it has up to this point,
 9    will prevail and somehow solve the challenges we face. But such hope is little comfort to
 10   individuals who, through no fault of their own, find themselves beset by an attacker and
 11   facing their death or that of their loved ones.
 12

 13         The right to self-defense and to defend one’s family is fundamental and inherent to
 14   our very humanity irrespective of any formal codification. In their wisdom, the Founders
 15   recognized the need for individual citizens to protect themselves and their loved ones
 16   from those that would do them harm—and they knew that such a right could not be
 17   vindicated without the right to bear arms. The Second Amendment to the United States
 18   Constitution guarantees law-abiding, responsible citizens the right to keep and bear arms
 19   for self-defense in case of confrontation.
 20

 21         For many years, the right to bear arms, and so necessarily the right to self-defense,
 22   was relegated to second-class status. But the United States Supreme Court made clear in
 23   its landmark decisions District of Columbia v. Heller, McDonald v. City of Chicago, and
 24   New York State Rifle & Pistol Association, Incorporated v. Bruen that relegation could no
 25   longer be permitted—individuals must be able to effectuate their right to self-defense by,
 26   if they so choose, responsibly bearing arms.
 27

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 1          Some disagree with the Founders and the Supreme Court that individual citizens
 2    have a right to protect themselves and believe that the best solution to the many dangers
 3    of the modern day is to prevent law-abiding citizens from carrying handguns. It is not
 4    this Court’s place to question their judgement as to how to solve the many challenges we
 5    face. That is up to the people and their elected representatives. But the Constitution, by
 6    design, recognizes that some rights are so important and sacrosanct that nothing short of a
 7    constitutional amendment may take them away. No one—not a federal judge, not a state
 8    governor or legislator, not even the President of the United States—is above the
 9    Constitution.
 10

 11         Nevertheless, California recently passed a law, Senate Bill 2, that limits the public
 12   places where people with concealed carry permits may carry their handguns to defend
 13   themselves and their families. To obtain such a permit in California, a person must go
 14   through a rigorous screening process. The process includes a lengthy application, a
 15   thorough background check involving interviews, fingerprinting, and reviewing multiple
 16   government databases, and a full-day, hands-on training course in which the person must
 17   demonstrate they can safely and proficiently use the handgun they seek to carry in public.
 18   Even with those stringent requirements, California will not allow concealed carry
 19   permitholders to effectively practice what the Second Amendment promises. SB2’s
 20   coverage is sweeping, repugnant to the Second Amendment, and openly defiant of the
 21   Supreme Court. The law designates twenty-six categories of places, such as hospitals,
 22   public transportation, places that sell liquor for on-site consumption, playgrounds, parks,
 23   casinos, stadiums, libraries, amusement parks, zoos, places of worship, and banks, as
 24   “sensitive places” where concealed carry permitholders cannot carry their handguns.
 25   SB2 turns nearly every public place in California into a “sensitive place,” effectively
 26   abolishing the Second Amendment rights of law-abiding and exceptionally qualified
 27   citizens to be armed and to defend themselves in public.
 28


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  1         Plaintiffs, who are concealed carry permitholders and related organizations,
  2   brought these two lawsuits against California to challenge the constitutionality of many
  3   of SB2’s “sensitive place” provisions. They now seek a preliminary injunction enjoining
  4   California from enforcing the challenged sensitive-place provisions, asserting that many
  5   of those restrictions violate their Second Amendment rights and deprive them of their
  6   ability to defend themselves and their loved ones in public. Plaintiffs are right. Their
  7   motions for a preliminary injunction are GRANTED.
  8

  9   II.   BACKGROUND
 10

 11         It is generally a crime to carry a firearm in public in California. Cal. Penal Code
 12   §§ 25400, 25850. However, a person may apply to a county sheriff or a city chief of
 13   police for a license to carry a concealed weapon, commonly referred to as a “CCW
 14   license” or a “CCW permit.” Id. §§ 26150, 26155. Under existing law, to obtain a CCW
 15   permit, a person must show they are of “good moral character,” which involves a
 16   background and criminal history check and fingerprinting. Id. §§ 26150, 26185. They
 17   must complete an eight- to sixteen-hour training course with instruction on firearm
 18   safety, firearm handling, shooting technique, and laws governing the permissible use of a
 19   firearm, plus live-fire shooting exercises on a firing range in which the applicant must
 20   demonstrate safe handling of, and shooting proficiency with, each firearm they seek
 21   license to carry. Id. § 26165. Licenses involve a fee and must be renewed every two
 22   years. See id. §§ 26190, 26220(a). Many licensing authorities’ processes for issuing
 23   CCW permits include a police interview, and some include a psychological examination.
 24   See id. § 26190(f).
 25

 26         The CCW permit process, with its background check and firearms training course,
 27   is “designed to ensure only that those bearing arms in the jurisdiction are, in fact, ‘law-
 28   abiding, responsible citizens.’” New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597

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 1    U.S. 1, 38 n.9 (2022). Those individuals willing to go through the tedious and time-
 2    consuming process to obtain a CCW permit are overwhelmingly law-abiding and
 3    responsible. (See May Compl. ¶ 82; id. at ¶ 76 [“Violent criminals don’t bother with
 4    CCW permits and simply carry illegally.”]; May Dkt. 13-6 [Declaration of Brian R.
 5    Marvel, President of Peace Officers Research Association of California, hereinafter
 6    “Marvel Decl.”] ¶¶ 5–6.) Nationwide, they constitute only about 26.3% of gunowners.
 7    William English, 2021 National Firearms Survey (Last Revised Sept. 28, 2022),
 8    Georgetown McDonough School of Business Research Paper No. 4109494, available at
 9    https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4109494.
 10

 11         Once a person has a CCW license, they may carry a concealed handgun except to
 12   certain “sensitive places.” See D.C. v. Heller, 554 U.S. 570, 626–27 (2008) (approving
 13   “laws forbidding the carrying of firearms in sensitive places”); Bruen, 597 U.S. at 30
 14   (acknowledging the existence of “sensitive places” “where arms carrying could be
 15   prohibited consistent with the Second Amendment”). For example, since 1995 California
 16   law has prohibited possessing a firearm in a place the person knows, or reasonably should
 17   know, is a “school zone,” meaning within 1,000 feet of K–12 school grounds. Cal. Penal
 18   Code § 626.9. It also prohibits possessing a firearm in “any state or local public
 19   building,” “within the State Capitol” or on its grounds, “any legislative office, any
 20   hearing room in which any committee of the Senate or Assembly is conducting a hearing,
 21   the Legislative Office Building,” the Governor’s Mansion or legislature members’
 22   residences without permission, or in “any sterile area of an airport,” “passenger vessel
 23   terminal” or “public transit facility.” Id. §§ 171b, 171c, 171d, 171.5, 171.7.
 24

 25         On September 12, 2023, the California legislature passed Senate Bill 2 (“SB2”),
 26   which California Governor Gavin Newsom signed into law on September 26, 2023.
 27   (Carralero Compl. ¶ 4.) SB2 adds Section 26230 to the California Penal Code and is set
 28


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 1    to take effect on January 1, 2024. In response to Bruen,1 SB2 “would remove the good
 2    character and good cause requirements from the issuance criteria” for CCW permits.
 3    2023 Cal. Legis. Serv. Ch. 249 (S.B. 2). However, because it prohibits issuing a CCW
 4    permit to anyone who is “disqualified,” applicants must still undergo thorough
 5    background checks. New Cal. Penal Code § 26202(a). Specifically, licensing authorities
 6    conduct an in-person interview with the applicant, interview at least three character
 7    references, review publicly-available information about the applicant including any
 8    published or posted statements, review the California Restraining and Protective Order
 9    System accessible through the California Law Enforcement Telecommunications System,
 10   and also obtain information from the Department of Justice. Id. §§ 26202(b), 26185. A
 11   person may not obtain a CCW permit if they are reasonably likely to be a danger to self,
 12   others, or the community at large; if they are subject to any restraining order, protective
 13   order, or other type of court order, or convicted of certain offenses; if they are currently
 14   abusing controlled substances or alcohol; or if they have any history of unlawful or
 15   reckless use, display, or brandishing of a firearm, loss or theft of multiple firearms, or
 16   failing to properly report a loss of a firearm. Id. § 26202(a)(1)–(10). A psychological
 17   assessment may be required in some instances. Id. § 26190(e)(2).
 18

 19         SB2 also increases the length of the required training course to no less than 16
 20   hours and adds additional subjects including safe storage, legal methods to transport
 21   firearms and secure them in vehicles, laws regarding the permissible use of lethal force in
 22   self-defense, and mental health. Id. § 26165(a). Applicants must pass a written
 23   examination to demonstrate their understanding of the covered topics. Id. § 26165(a)(5).
 24

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 28    In a press conference announcing SB2, Governor Newsom called Bruen a “very bad ruling.” (May
      Compl. ¶ 79.)
                                                     -6-
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  1           Finally, SB2 provides that a person granted a CCW license “shall not carry a
  2   firearm on or into” twenty-six categories of places.2 Plaintiffs in these cases are fourteen
  3   ordinary, law-abiding citizens with active CCW licenses and ten organizations whose
  4   members have such licenses who want to be able to continue to carry concealed weapons
  5   at places they carried them before to protect themselves and their families. (See May
  6   Dkts. 13-2–5, 13-8–12, 13-14–19; Carralero Dkts. 6-2–6 [Plaintiffs’ declarations].)
  7   They challenge SB2’s provisions prohibiting CCW permitholders from carrying in the
  8   following locations:
  9       (7) Hospitals, mental health facilities, nursing homes, medical offices, urgent care
 10           facilities, and other places where medical services are customarily provided,
 11       (8) Public transportation,
 12       (9) Establishments where intoxicating liquor is sold for consumption on the premises,
 13       (10) Public gatherings and special events,
 14       (11) Playgrounds and private youth centers,
 15       (12) Parks and athletic facilities,
 16       (13) Department of Parks and Recreation and Department of Fish and Wildlife
 17           property, except hunting areas,
 18       (15) Casinos and gambling establishments,
 19       (16) Stadiums and arenas,
 20       (17) Public libraries,
 21       (19) Amusement parks,
 22       (20) Zoos and museums,
 23       (22) Churches, synagogues, mosques, and other places of worship,
 24       (23) Financial institutions, and
 25

 26

 27
      2
        SB2’s sensitive place restrictions also apply to those individuals who, as residents of counties with
 28   fewer than 200,000 people, have received a license to carry openly. (Opp. at 3 n.3 [citing Cal. Penal
      Code §§ 26150(b)(2), 26155(b)(2), 26230(1)].)
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  1     (26) Any other privately owned commercial establishment that is open to the public,
  2          unless the operator clearly and conspicuously posts a sign indicating that
  3          licenseholders are permitted to carry firearms on the property.
  4   They also seek to enjoin SB2 to the extent it makes any “parking areas” a “sensitive
  5   place.” (May Mot. at 4; see May Reply at 8 [clarifying that they challenge subsection
  6   (a)(5) regarding local government buildings only “as it applies to parking areas and
  7   public appurtenant areas adjacent to where legislative, judicial, or other governmental
  8   business is conducted”].)
  9

 10   III.   DISCUSSION
 11

 12          A preliminary injunction is an extraordinary and drastic remedy that may only be
 13   awarded upon a clear showing that the moving party is entitled to relief. See Mazurek v.
 14   Armstrong, 520 U.S. 968, 972 (1997). To obtain a preliminary injunction, Plaintiffs must
 15   establish that (1) they are likely to succeed on the merits, (2) they are likely to suffer
 16   irreparable harm in the absence of preliminary relief, (3) the balance of equities tips in
 17   their favor, and (4) the public interest favors an injunction. Winter v. Nat’l Res. Def.
 18   Council, Inc., 555 U.S. 7, 20 (2008); AK Futures LLC v. Boyd Street Distro, LLC, 35
 19   F.4th 682, 688 (9th Cir. 2022). The Ninth Circuit balances these factors using a “sliding
 20   scale” approach, in which “a stronger showing of one element may offset a weaker
 21   showing of another.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir.
 22   2011). However, Plaintiffs must “make a showing on all four prongs.” Id. at 1135. “The
 23   most important among these factors is the likelihood of success on the merits.” Junior
 24   Sports Mags. Inc. v. Bonta, 80 F.4th 1109, 1115 (9th Cir. 2023). “This is especially true
 25   for constitutional claims, as the remaining Winter factors typically favor enjoining laws
 26   thought to be unconstitutional.” Id.
 27

 28


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  1         A.     Likelihood of Success on the Merits
  2

  3         Plaintiffs are likely to succeed on the merits of their claim that the challenged SB2
  4   sections violate the Second Amendment. The Second Amendment reads: “A well
  5   regulated Militia, being necessary to the security of a free State, the right of the people to
  6   keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. It “guarantee[s] the
  7   individual right to possess and carry weapons in case of confrontation” both inside the
  8   home and outside it. Heller, 554 U.S. at 592; Bruen, 597 U.S. at 20. The text’s “right to
  9   ‘bear arms’ refers to the right to ‘wear, bear, or carry upon the person or in the clothing or
 10   in a pocket, for the purpose of being armed and ready for offensive or defensive action in
 11   a case of conflict with another person.’” Bruen, 597 U.S. at 32 (quoting Heller, 554 U.S.
 12   at 584).
 13

 14         To determine whether a firearm regulation is consistent with the Second
 15   Amendment, the Supreme Court has created a two-step analysis. First, a court evaluates
 16   whether “the Second Amendment’s plain text covers an individual’s conduct.” Bruen,
 17   597 U.S. at 17. If it does, the regulation is presumptively unlawful unless the
 18   government can show that the regulation “is consistent with the Nation’s historical
 19   tradition of firearm regulation.” Id.
 20

 21                1.     Step One
 22

 23         Bruen’s first step asks “whether the plain text of the Second Amendment protects
 24   [the plaintiffs’] proposed course of conduct.” Bruen, 597 U.S. at 17. This step “requires
 25   a textual analysis, determining whether the challenger is part of ‘the people’ whom the
 26   Second Amendment protects, whether the weapon at issue is ‘in common use’ today for
 27   self-defense, and whether the proposed course of conduct falls within the Second
 28   Amendment.” United States v. Alaniz, 69 F.4th 1124, 1128 (9th Cir. 2023) (some

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  1   quotation marks omitted); Range v. Att’y Gen. United States of Am., 69 F.4th 96, 101 (3d
  2   Cir. 2023) (explaining that Bruen’s first step looks to “whether the text of the Second
  3   Amendment applies to a person and his proposed conduct”).
  4

  5         Plaintiffs are “ordinary, law-abiding, adult citizens,” and are therefore “part of ‘the
  6   people’ whom the Second Amendment protects.” Bruen, 597 U.S. at 31–32; (May
  7   Compl. ¶¶ 10, 13, 118; Carralero Compl. ¶ 6). It is undisputed that the firearms they
  8   seek to carry into SB2’s listed places are “‘in common use’ today for self-defense.”
  9   Bruen, 597 U.S. at 32. Indeed, to obtain their CCW permits, Plaintiffs demonstrated
 10   “safe handling of, and shooting proficiency with, each firearm” they sought to carry. Cal.
 11   Penal Code § 26165(a)(3). And the plain text of the Second Amendment unquestionably
 12   protects Plaintiffs’ proposed course of conduct of carrying handguns outside the home for
 13   self-defense. Bruen, 597 U.S. at 10; (see May Compl. ¶ 12; Carralero Compl. ¶¶ 10–25).
 14

 15         Bruen’s first step is therefore met. See Hardaway v. Nigrelli, 639 F. Supp. 3d 422,
 16   439 (W.D.N.Y. 2022) (finding step one met when ordinary, law-abiding citizens
 17   challenged law designating places of worship as sensitive places), affirmed in part,
 18   vacated in part, and remanded by Antonyuk v. Chiumento, 2023 WL 8518003 (2d Cir.
 19   Dec. 8, 2023); Spencer v. Nigrelli, 648 F. Supp. 3d 451, 467 (W.D.N.Y. 2022) (same),
 20   affirmed in part, vacated in part, and remanded by Antonyuk v. Chiumento, 2023 WL
 21   8518003; Christian v. Nigrelli, 642 F. Supp. 3d 393, 405 (W.D.N.Y. 2022), affirmed in
 22   part, vacated in part, and remanded by Antonyuk v. Chiumento, 2023 WL 8518003 (same
 23   when plaintiffs challenged law criminalizing firearm possession on private property
 24   unless property holders posted sign with permission or gave express consent); Wolford v.
 25   Lopez, 2023 WL 5043805, at *16, *19 (D. Haw. Aug. 8, 2023) (“[T]he carrying of
 26   firearms in [public] areas is covered by the plain text of the Second Amendment,” as is
 27   carrying a firearm into establishments open into the public “because those establishments
 28   are public to the extent that members of the public are invitees or licensees who may

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  1    enter those establishments during business hours, unless their invitation or license is
  2    revoked.”); Koons v. Platkin, 2023 WL 3478604, at *18 (D.N.J. May 16, 2023) (“The
  3    Second Amendment presumptively guarantees the Siegel Plaintiffs’ ‘proposed course of
  4    conduct’ of carrying handguns in public for self-defense.”).
  5

  6          The government does not appear to dispute that step one is met except as to
  7    Section 26230(a)(26), which prohibits concealed carry at “privately owned commercial
  8    establishment[s] that [are] open to the public, unless the operator” posts a sign that such
  9    carry is allowed. As to that provision, the government argues that “Plaintiffs’ conduct
  10   does not implicate the plain text of the Second Amendment because the right to keep and
  11   bear Arms would not have been understood by Americans in 1791 or 1868 to extend to
  12   others’ private property” without their consent. (May Dkt. 21, Carralero Dkt. 20
  13   [Opposition, hereinafter “Opp.”] at 39–42; see generally May and Carralero Dkt. 25-2
  14   [amicus brief of property law professors Ian Ayres and Fredrick Vars].) The Court
  15   disagrees. The regulation prohibits CCW permitholders from carrying firearms in places
  16   open to the public to defend themselves and their families. This surely “falls within the
  17   Second Amendment right to carry firearms in self-defense outside the home.” Antonyuk
  18   v. Chiumento, 2023 WL 8518003, at *82 (noting in reaching this conclusion that
  19   otherwise, “because over 91 percent of land in New York state is privately held, the
  20   restricted location provision would turn much of the state of New York into a default no-
  21   carriage zone”).
  22

  23                2.    Step Two
  24

  25         Since the relevant SB2 provisions implicate conduct the Second Amendment
  26   protects, they are presumptively unconstitutional unless the government can meet its
  27   burden to demonstrate that the provisions are “consistent with the Nation’s historical
  28   tradition of firearm regulation.” Bruen, 597 U.S. at 24. To carry its burden, the

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  1   government must provide “historical precedent from before, during, and even after the
  2   founding [that] evinces a comparable tradition of regulation.” Id. at 27 (cleaned up); see
  3   id. at 20 (reiterating Heller’s statement that “the public understanding of a legal text in
  4   the period after its enactment or ratification” was “a critical tool of constitutional
  5   interpretation”). “[T]he most significant historical evidence comes from 1791, when the
  6   Second Amendment was adopted, and secondarily 1868,” when the Fourteenth
  7   Amendment was ratified. Duncan v. Bonta, 2023 WL 6180472, at *20 (S.D. Cal. Sept.
  8   22, 2023).
  9

 10         “[A]nalogical reasoning under the Second Amendment is neither a regulatory
 11   straightjacket nor a regulatory blank check,” and to carry its burden to show a regulation
 12   is supported by the nation’s historical tradition of firearm regulation, the government
 13   need only “identify a well-established and representative historical analogue, not a
 14   historical twin.” Bruen, 597 U.S. at 30. “The core question is whether the challenged
 15   law and proffered analogue are ‘relevantly similar.’” United States v. Rahimi, 61 F.4th
 16   443, 454 (5th Cir.), cert. granted, 143 S. Ct. 2688 (2023) (quoting Bruen, 597 U.S. at 29).
 17   “In determining whether the modern regulation and the historical analogue are ‘relevantly
 18   similar,’ [courts] must look to the ‘how and why’ of the two regulations; that is, ‘whether
 19   modern and historical regulations impose a comparable burden on the right of armed self-
 20   defense and whether that burden is comparably justified are central considerations when
 21   engaging in an analogical inquiry.’” Teter v. Lopez, 76 F.4th 938, 951 (9th Cir. 2023)
 22   (quoting Bruen, 597 U.S. at 29).
 23

 24         The history and tradition inquiry involves additional nuance when it comes to
 25   sensitive-place restrictions. The Supreme Court mentioned in Bruen that it is “settled”
 26   that certain, “relatively few” locations are “sensitive places” “where arms carrying c[an]
 27   be prohibited consistent with the Second Amendment.” Bruen, 597 U.S. at 30. These
 28   locations include schools, government buildings, “legislative assemblies, polling places,

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  1   and courthouses.” Id. The Supreme Court explained that this is so even though there are
  2   few laws evidencing a history and tradition of prohibiting firearms in those places. Id.
  3   (citing David B. Kopel & Joseph G.S. Greenlee, The “Sensitive Places” Doctrine:
  4   Locational Limits on the Right to Bear Arms, 13 Charleston L. Rev. 205, 235–36 (2018)).
  5   Indeed, the law review article the Supreme Court cited regarding historical support for
  6   designating these places as sensitive found a “rather short” list of “laws from the colonial
  7   period and the Founding Era” justifying such sensitive places: only two Maryland statutes
  8   forbidding carrying arms in the legislature and provisions in Delaware’s constitution
  9   prohibiting them in polling places. Kopel & Greenlee, The “Sensitive Places” Doctrine,
 10   13 Charleston L. Rev. at 235–36.
 11

 12         “So where does that leave the many locations in a modern city with no obvious
 13   18th- or 19th-century analogue? What about subways, nightclubs, movie theaters, and
 14   sports stadiums? The Court does not say.” Bruen, 597 U.S. at 114 (Breyer, J.,
 15   dissenting). Rather, the Supreme Court stated that courts “can use analogies to those
 16   historical regulations of ‘sensitive places’ to determine that modern regulations
 17   prohibiting the carry of firearms in new and analogous sensitive places are
 18   constitutionally permissible.” Id. at 30. That is what the Court is tasked to do here.
 19

 20
                          a.    (7) Hospitals and Medical Services Facilities

 21
            Section 26230(a)(7) prohibits a CCW permitholder from carrying a firearm into
 22
      “[a] building, real property, and parking area under the control of a public or private
 23
      hospital or hospital affiliate, mental health facility, nursing home, medical office, urgent
 24
      care facility, or other place at which medical services are customarily provided.” This
 25
      provision of SB2 impermissibly denies the core Second Amendment right to carry a
 26
      firearm in public for self-defense to people who have gone through a lengthy permit
 27

 28


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  1   application process including a thorough background check and safety and training
  2   course.
  3

  4          The Second Amendment guarantees an “individual right to possess and carry
  5   weapons in case of confrontation.” Heller, 554 U.S. at 592. Self-defense—“a basic
  6   right, recognized by many legal systems from ancient times to the present day” and one
  7   that is “deeply rooted in this Nation’s history and tradition”—is “the central component
  8   of the right itself.” Id. at 599; McDonald v. City of Chicago, Ill., 561 U.S. 742, 767–68
  9   (2010). This right applies to protect people from the “serious risk of lethal violence when
 10   they venture outside their homes.” Bruen, 597 U.S. at 71 (Alito, J., concurring); id. at
 11   2135 (“Many Americans hazard greater danger outside the home than in it.”).
 12

 13          “The pertinent question” when deciding whether a regulation is consistent with the
 14   Second Amendment “is what the Founders understood the Second Amendment to mean.”
 15   Atkinson v. Garland, 70 F.4th 1018, 1020 (7th Cir. 2023). At a high level, the Founders
 16   “understood the right to enable individuals to defend themselves,” including by
 17   “repe[lling] force by force” when “the intervention of society in his behalf, may be too
 18   late to prevent an injury.” Heller, 554 U.S. at 594–95 (quoting 1 Blackstone’s
 19   Commentaries 145–146, n. 42 (1803) and citing, among other sources, a 1769 newspaper
 20   article). 3 “Therefore, those who sought to carry firearms publicly and peaceably in
 21   antebellum America were generally free to do so.” Bruen, 597 U.S. at 52.
 22

 23          The Founders’ primary concern when it came to firearms was “circumstances
 24   giving just reason to fear that [individuals carrying weapons had] purposes to make an
 25
      3
       The Founders would likely have studied Cicero’s speech in defense of Titus Annius Milo, in which he
 26
      declared, “if our life be in danger from plots, or from open violence, or from the weapons of robbers or
 27   enemies, every means of securing our safety is honorable. For laws are silent when arms are raised, and
      do not expect themselves to be waited for, when he who waits will have to suffer an undeserved penalty
 28   before he can exact a merited punishment.” Kopel & Greenlee, The “Sensitive Places” Doctrine, 13
      Charleston L. Rev. at 211.
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  1   unlawful use of them.” Kopel & Greenlee, The “Sensitive Places” Doctrine, 13
  2   Charleston L. Rev. at 234. They therefore had no concerns about “prohibit[ing] bearing
  3   arms in a way that spreads ‘fear’ or ‘terror’ among the people.” Bruen, 597 U.S. at 50.
  4   Indeed, in defending soldiers after the Boston Massacre, John Adams declared that
  5   “every private person is authorized to arm himself, and on the strength of this authority, I
  6   do not deny the inhabitants had a right to arm themselves at that time, for their defence,
  7   not for offence, that distinction is material and must be attended to.” John Adams’
  8   Argument for the Defense: 3–4 December 1770, available at
  9   https://founders.archives.gov/documents/Adams/05-03-02-0001-0004-0016 (emphasis
 10   added). Accordingly, “[t]hroughout modern Anglo-American history, the right to keep
 11   and bear arms in public has traditionally been subject to well-defined restrictions
 12   governing the intent for which one could carry arms, the manner of carry, or the
 13   exceptional circumstances under which one could not carry arms.” Bruen, 597 U.S. at
 14   38; see Antonyuk v. Hochul, 639 F. Supp. 3d 232, 334 (N.D.N.Y. 2022), reconsideration
 15   denied sub nom. Antonyuk v. Nigrelli, 2022 WL 19001454 (N.D.N.Y. Dec. 13, 2022),
 16   affirmed in part, vacated in part, and remanded by Antonyuk v. Chiumento, 2023 WL
 17   8518003 (noting that many historical laws purportedly analogous to sensitive place
 18   restrictions “appear to have been aimed at denying the possession of guns to persons who
 19   were likely to pose a danger or disturbance to the public”).
 20

 21         Given the nation’s history and tradition of protecting the core right to carry a
 22   firearm to those wishing to defend themselves and their families in case of confrontation,
 23   it is unsurprising that the government does not offer a single historical prohibition on
 24   carrying firearms at hospitals or medical offices, much less one limiting carry by a
 25   category of people that is particularly responsible and trained and whom the government
 26   has background checked. (Cf. May Dkt. 13-7 [Declaration of Clayton Cramer,
 27   hereinafter “Cramer Decl.”] ¶ 66 [“The very first hospitals appear before 1791, but they
 28   are rare. I have never seen a law restricting arms possession in such places.”]); Kopel &

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  1   Greenlee, The “Sensitive Places” Doctrine, 13 Charleston L. Rev. at 289 (“It is difficult
  2   to create a rationale for extending the sensitive places doctrine to places that are not
  3   schools or government buildings” because “there are few ‘longstanding’ restrictions on
  4   other locations.”). Other courts have similarly found such historical examples lacking.
  5   Koons v. Platkin, 2023 WL 3478604, at *93 (“This Court has uncovered no laws from the
  6   18th or 19th centuries that banned firearms at hospitals, almshouses, asylums, or other
  7   medical facilities.”); Antonyuk v. Hochul, 639 F. Supp. 3d at 318 (“[C]ertainly the
  8   medical profession existed in 18th and 19th century America; and certainly gun violence
  9   existed in 18th and 19th century America,” yet “the State Defendants do not cite (and the
 10   Court has been unable to yet locate) any laws from those time periods prohibiting
 11   firearms in places such as ‘almshouses,’ hospitals, or physician’s offices.”).
 12

 13          Of course, “the lack of a distinctly similar historical regulation addressing that
 14   problem is relevant evidence that the challenged regulation is inconsistent with the
 15   Second Amendment.” Bruen, 597 U.S. at 26. But the government need not present “a
 16   historical twin” for a regulation to be lawful.4 Id. at 30. In this vein, the government
 17   contends that SB2’s ban on permitholder carry in medical facilities “fits within the
 18   Nation’s tradition of sensitive place restrictions because modern health care facilities
 19   exist for scientific and educational purposes and serve a vulnerable population,” citing
 20   three Reconstruction-era laws: (1) an 1870 Texas law prohibiting bringing firearms to
 21   “any school room or other place where persons are assembled for educational, literary or
 22   scientific purposes,” (May Dkt. 22, Ex. 77), (2) an 1878 Mississippi law prohibiting “any
 23   student of any university, college or school” from carrying a concealed weapon, (id., Ex.
 24   100), and (3) an 1879 Missouri law prohibiting concealed carry in “any school room or
 25   place where people are assembled for educational, literary or social purposes,” (id., Ex.
 26

 27
      4
 28    Indeed, there does not appear to be a single regulation near the founding that prohibits carrying a
      weapon at or near a school.
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  1   103). (Opp. at 28.)5 The government argues these “laws were designed to, among other
  2   things, protect vulnerable persons who, because of their age or physical state, cannot
  3   easily escape attack, much less defend themselves.” (Id.) At least one court has agreed
  4   with this reasoning, denying a preliminary injunction of a regulation prohibiting firearms
  5   in health care facilities because such facilities, “like schools, serve a vulnerable
  6   population, and their regulation is justified by the protection of that population,” and
  7   because “there are representative historical statutes aimed at protecting places for
  8   educational, literary, or scientific purposes, and health care facilities clearly advance a
  9   scientific purpose.” Kipke v. Moore, 2023 WL 6381503, at *8 (D. Md. Sept. 29, 2023).
 10

 11             California’s ban on CCW permitholders carrying firearms in facilities providing
 12   medical services is supported neither by any history or tradition of banning firearms in
 13   those locations nor by any analogy to “settled” sensitive places. The government
 14   provides no evidence that the proffered analogies prohibiting firearms in places where
 15   people gather for “scientific” or “educational” purposes are well-established,
 16   representative, or consistent with a tradition of banning firearms in places like hospitals
 17   and urgent cares. See Bruen, 597 U.S. at 30. Nor are the proffered analogies “relevantly
 18   similar” because SB2, which prevents people that law enforcement has vetted and who
 19   have been trained on the carry and use of their handguns from carrying those handguns to
 20   defend themselves and their families in case of confrontation in places they visit in their
 21   everyday lives, imposes a far greater burden on the right to self-defense than the
 22   proffered historical analogues with non-comparable justifications. See id. at 29
 23   (“[W]hether modern and historical regulations impose a comparable burden on the right
 24   of armed self-defense and whether that burden is comparably justified are central
 25   considerations when engaging in an analogical inquiry.”) (cleaned up). Moreover, if the
 26   “settled” constitutionality of prohibiting firearms in schools is sufficiently analogous to a
 27

 28
      5
          The Court focuses its analysis on the analogues specifically cited in the parties’ briefing.
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  1   regulation prohibiting firearms in medical facilities, that logic is broad enough to
  2   altogether “eviscerate the general right to publicly carry arms for self-defense.” Id. at 31.
  3   In short, designating medical facilities as “sensitive places” impermissibly “operate[s] to
  4   prevent law-abiding citizens with ordinary self-defense needs from carrying arms in
  5   public for that purpose” without any persuasive analogue in historical regulation or
  6   “settled” sensitive places. Id. at 60.
  7

  8
                            b.      (8) Public Transportation

  9
             Section 26230(a)(8) prohibits a CCW permitholder from carrying a firearm into
 10
      “[a] bus, train, or other form of transportation paid for in whole or in part with public
 11
      funds, and a building, real property, or parking area under the control of a transportation
 12
      authority supported in whole or in part with public funds.”6 The government fails to
 13
      carry its burden to show that this regulation is supported by analogy to either historical
 14
      regulations or to “settled” sensitive places.
 15

 16
             The government contends this restriction is consistent with the nation’s tradition of
 17
      regulating firearms because “public transit vehicles and facilities are crowded, confined
 18
      spaces,” and that “[i]n such densely packed spaces, the discharge of a firearm is highly
 19
      likely to result in severe injury to innocent bystanders, either via a gunshot wound or due
 20
      to mass panic from attempts to escape the shooter.” (Opp. at 24.) But spaces do not
 21
      become sensitive simply because they are “crowded and protected generally by” the
 22
      police. Bruen, 597 U.S. at 31. And densely packed spaces are precisely the types of
 23
      spaces that malicious criminals target for mass-shootings. Indeed, public transportation
 24
      is the type of place that may require exercising the right to self-defense. Not everyone
 25
      has the luxury of commuting in the solitary safety of a private vehicle. (Cf. May Mot. at
 26

 27
      6
       SB2 recognizes that “[e]xisting law prohibits a person from knowingly possessing a firearm in a sterile
 28   area of an airport, passenger vessel terminal, or public transit facility.” 2023 Cal. Legis. Serv. Ch. 249
      (S.B. 2).
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  1   10 [“California apparently takes the position that only those with access to private
  2   transportation and/or those who live in gated communities should retain at least some
  3   semblance of a rights to public carry.”]; Marvel Decl. ¶ 8 [“The prohibition even extends
  4   to public transposition, imposing discriminatory impacts on people of lesser means and
  5   harming the environment.”].)
  6

  7         Next, the government argues this restriction is consistent with the nation’s history
  8   of firearms regulation because public transportation “serve[s] vulnerable populations,
  9   particularly children.” (Opp. at 24); see Kipke, 2023 WL 6381503, at *10 (denying
 10   preliminary injunction on sensitive place designation of public transportation because
 11   “[l]ike schools, mass transit facilities are crowded spaces that serve vulnerable
 12   populations like children and disabled people”). But public transportation is “not densely
 13   populated by children.” Antonyuk v. Hochul, 639 F. Supp. 3d at 330. And to conclude
 14   that public transportation may be considered a “sensitive place” by analogizing to the
 15   “settled” fact that schools are sensitive places requires accepting the false notion that any
 16   place where children may be found, under any circumstances, may be designated a
 17   sensitive place. This overbroad reasoning would impermissibly “eviscerate the general
 18   right to publicly carry arms for self-defense.” Bruen, 597 U.S. at 31.
 19

 20         The government further maintains that the public transportation restriction is
 21   lawful on the basis that many public transportation hubs “are government buildings.”
 22   (Opp. at 24); see Kipke, 2023 WL 6381503, at *10 (denying preliminary injunction as to
 23   public transportation because “some mass transit facilities, such as bus, train, or subway
 24   stations, could also be categorized as government buildings, which are established
 25   sensitive places”). This analogy fails. Historic laws protecting government buildings
 26   “were aimed at essentially protecting the operation of the three branches of government,
 27   not the regulation of a public service (such as transportation in public).” Antonyuk v.
 28   Hochul, 639 F. Supp. 3d at 330.

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  1         Finally, the government argues that the public transportation prohibition “is
  2   consistent with Reconstruction-era restrictions on the carry of firearms on trains.” (Opp.
  3   at 25 [citing May Dkt. 21-9, Declaration of Dr. Brennan Rivas, ¶ 67; May Dkt. 21-10,
  4   Declaration of Joshua Salzmann, ¶¶ 69–77].) But the restrictions the government cites
  5   are gun-carriage policies of private rail companies, including Union Pacific and Central
  6   Pacific, North Pennsylvania Railroad, South Carolina Canal and Rail Road Company,
  7   International and Great Northern Railroad Company, and Albany Railway. (Rivas Decl.
  8   ¶ 67; see Salzmann Decl. ¶ 69 [“I consulted more than seventy railroad company rule
  9   books and timetables.”].) A handful of private companies’ rules do not establish an
 10   “enduring American tradition of state regulation.” Bruen, 597 U.S. at 69; cf. Antonyuk v.
 11   Hochul, 635 F. Supp. 3d 111, 131 (N.D.N.Y. 2022) (“[G]enerally, a historical statute
 12   cannot earn the title ‘analogue’ if it is clearly more distinguishable than it is similar to the
 13   thing to which it is compared.”).
 14

 15         “Analogical reasoning requires judges to apply faithfully the balance struck by the
 16   founding generation to modern circumstances.” Bruen, 597 U.S. at 29 n.7. And the
 17   government has presented no evidence that this balance supports preventing people who
 18   have been through a thorough background check and training process to obtain a special
 19   permit to carry a concealed weapon from exercising their constitutional right to self-
 20   defense on public transportation.
 21

 22
                          c.     (9) Places Where Liquor is Sold for On-Site Consumption

 23
            Section 26230(a)(9) prohibits a CCW permitholder from carrying a firearm into “a
 24
      building, real property, and parking area under the control of a vendor or an
 25
      establishment where intoxicating liquor is sold for consumption on the premises.” This
 26
      regulation is also inconsistent with the Second Amendment’s guarantee of an individual
 27
      right to bear arms for self-defense in case of confrontation.
 28


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  1         The government contends that this provision is “broadly consistent with the rich
  2   history and tradition of restricting firearms at social gatherings and public assemblies.”
  3   (Opp. at 21.) The first law it cites is a 1786 Virginia law prohibiting “go[ing] or rid[ing]
  4   armed by night nor by day, in fairs or markets, or in other places, in terror of the county,
  5   upon pain of being arrested.” (May Dkt. 22, Ex. 31.) However, there is simply no
  6   comparison between prohibiting law-abiding citizens who have completed a rigorous
  7   application process to carry a concealed weapon for self-defense at small, quiet
  8   restaurants with prohibiting a person to enter a fair or market armed “in terror of the
  9   county.” See Bruen, 597 U.S. at 50 (analyzing this law and noting that it and similar laws
 10   “prohibit[ed] bearing arms in a way that spreads ‘fear’ or ‘terror’ among the people”);
 11   Antonyuk v. Hochul, 639 F. Supp. 3d at 334 (“Setting aside the fact that the armed
 12   horseback riders referenced in the Virginia law were, by definition, brandishing arms and
 13   not carrying them concealed, the modern regulation is not limited to instances in which
 14   the concealed carry licensees are ‘terrorizing’ others (or doing so while traveling through
 15   necessarily congested areas). As a result, the Court must reject that analogy, and
 16   discount the weight of the 1789 Virginia law.”). Rather than supporting disarming law-
 17   abiding citizens who have been vetted and trained, this law highlights that the founding
 18   generation sought to disarm those who carried firearms for the wrong reasons and with
 19   ill-intent. See Kopel & Greenlee, The “Sensitive Places” Doctrine, 13 Charleston L.
 20   Rev. at 234; Bruen, 597 U.S. at 50.
 21

 22         The government’s other proffered analogues fare no better. These are an 1816
 23   New Orleans law prohibiting “enter[ing] into a public ballroom with any . . . weapon,”
 24   and requiring that anyone possessing a weapon deposit the weapon at the entrance of the
 25   ballroom in the style of a coat check, (May Dkt. 22, Ex. 38), an 1853 New Mexico law
 26   requiring that any person holding a “Ball[] or Fandango[]” to “present a competent
 27   person, who shall discharge the duties of a Police Officer,” who will prohibit “any person
 28   to enter said Ball or room adjoining said ball where Liquors are sold, or to remain in said

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  1   balls or Fandangos with fire arms or other deadly weapons,” (id., Ex. 58), and an 1882
  2   New Orleans law prohibiting carrying arms “into any theatre, public hall, tavern, pic-nic
  3   ground, place for shows or exhibitions, house or other place of public entertainment or
  4   amusement,” (id., Ex. 112). The government also argues “there is an abundance of
  5   historical laws restricting the carrying of firearms in alcohol-rich environments that
  6   reflect an understanding of the unique dangers of mixing alcohol and guns,” citing
  7   colonial laws prohibiting selling alcohol to on-duty militiamen or near military training
  8   sites and an 1859 Connecticut statute prohibiting selling alcohol within one mile of a
  9   military ground or encampment. (Opp. at 21–22.)
 10

 11         SB2’s prohibition on CCW permitholders carrying firearms at any place where
 12   liquor is sold for on-site consumption does not “impose a comparable burden on the right
 13   of armed self-defense” that “is comparably justified” with these proffered historical
 14   regulations. Bruen, 597 U.S. at 29. Unlike the proffered historical analogues, SB2
 15   prohibits law-abiding, responsible, ordinary citizens from carrying a firearm for self-
 16   defense even to a small, uncrowded restaurant if that restaurant sells wine to drink at the
 17   table. This affects a person’s everyday life, not just their attendance at special events.
 18   See Koons v. Reynolds, 649 F. Supp. 3d 14, 31–32 (D.N.J. 2023) (granting preliminary
 19   injunction of regulation prohibiting carry in “a bar or restaurant where alcohol is served,
 20   and any other site or facility where alcohol is sold for consumption on the premises”
 21   because the state failed to proffer comparable historical analogues). The government’s
 22   argument that the restriction is consistent with the nation’s tradition of restricting
 23   firearms to protect “vulnerable populations (i.e., those whose judgment is impaired),”
 24   (Opp. at 21), is also unpersuasive. See Kipke, 2023 WL 6381503, at *11 (“[T]he Court is
 25   unconvinced that intoxicated people qualify as a vulnerable population, like children or
 26   hospitalized individuals.”).
 27

 28


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  1         Next, the government relies on historical regulations prohibiting intoxicated people
  2   from carrying firearms. (Opp. at 22.) These are plainly not comparable. Koons v.
  3   Reynolds, 649 F. Supp. 3d at 32 (rejecting 1867 Kansas statute that prohibited the
  4   possession of firearms by intoxicated persons as having “no relevance here as the
  5   restriction at issue clearly does not address possession of firearms by intoxicated
  6   persons”); Kipke, 2023 WL 6381503, at *11 (“Those historical statutes prevented only
  7   intoxicated individuals from carrying firearms, while SB 1 bans all people present at
  8   locations selling alcohol from carrying.”); Wolford, 2023 WL 5043805, at *18
  9   (preliminarily enjoining similar regulation because it was broader than “a national
 10   historical tradition of regulating intoxicated individuals from carrying firearms”).
 11

 12         The closest historical analogues the government cites are an 1853 New Mexico law
 13   prohibiting carry in balls or fandangos “where Liquors are sold,” (May Dkt. 22, Ex. 58),
 14   an 1890 Oklahoma law prohibiting carry “to any place where intoxicating liquors are
 15   sold,” (id., Ex. 144), and an 1870 San Antonio ordinance prohibiting carry at “any
 16   barroom [or] drinking saloon,” (id., Ex. 76). (Opp. at 22.) However, these nineteenth-
 17   century regulations from territories and localities are insufficient to demonstrate that a
 18   prohibition on CCW permitholders carrying firearms in places where liquor is sold for
 19   on-site consumption is supported by this nation’s history and tradition of firearm
 20   regulation. See Bruen, 597 U.S. at 66–70 (discounting weight of late-19th century
 21   regulation from the Western Territories); see, e.g., Kipke, 2023 WL 6381503, at *11
 22   (“The Supreme Court has already identified Oklahoma as a non-representative
 23   jurisdiction, Bruen, 142 S.Ct. at 2154, and thus the Court will not interpret the Oklahoma
 24   statute as evincing the nation’s tradition of firearm regulation.”); Antonyuk v. Hochul,
 25   639 F. Supp. 3d at 323 (“Of course, to the extent the laws come from territories (i.e., Salt
 26   Lake City in 1888, Arizona in 1889, and Oklahoma in 1890), the Court affords them little
 27   weight.”).
 28


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  1
                          d.     (10) Public Gatherings and Special Events

  2
            Section 26230(a)(10) prohibits a CCW permitholder from carrying a firearm into
  3
      “a public gathering or special event conducted on property open to the public that
  4
      requires the issuance of a permit from a federal, state, or local government and sidewalk
  5
      or street immediately adjacent to the public gathering or special event but is not more
  6
      than 1,000 feet from the event or gathering, provided this prohibition shall not apply to a
  7
      licensee who must walk through a public gathering in order to access their residence,
  8
      place of business, or vehicle.”
  9

 10
            This regulation is inconsistent with this nation’s history and tradition of firearm
 11
      regulation. Indeed, “[j]ust before the ratification of the Second Amendment, six out of
 12
      the thirteen original colonies required their citizens to go armed when attending . . .
 13
      public assemblies.” Kipke, 2023 WL 6381503, at *16 (granting preliminary injunction of
 14
      regulation prohibiting concealed carry at public gatherings, demonstrations, or events
 15
      requiring a government permit); Koons v. Platkin, 2023 WL 3478604, at *73 (explaining
 16
      that because “[t]he colonial generation recognized that citizens attending public
 17
      gatherings exposed themselves to violent attack,” they “obligated their citizenry to arm
 18
      themselves for protection,” citing Heller, 554 U.S. at 601 (observing that “[m]any
 19
      colonial statutes required individual arms bearing for public-safety reasons”)).
 20

 21
            The government contends that SB2’s public gathering and special events
 22
      regulation is justified by “the rich historical tradition of prohibiting the carry of firearms
 23
      where people gather for social and entertainment purposes.” (Opp. at 26.) It cites many
 24
      of the same statutes cited in support of the restriction on carry in places where liquor is
 25
      sold for on-site consumption, including the 1786 Virginia terror in fair or markets law,
 26
      the 1816 New Orleans weapon coat check law, the 1853 New Mexico law relating to
 27
      balls or fandangos, and the 1882 New Orleans law regulating carry in theaters, public
 28


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  1   halls, places for shows or exhibitions, or other places of public entertainment or
  2   amusement. (Id.) But these laws are not sufficient analogues. First, these 19th-century
  3   laws provide “less insight into the meaning of the Second Amendment when [they]
  4   contradict[] earlier evidence.” Bruen, 597 U.S. at 66; see Kipke, 2023 WL 6381503, at
  5   *16 (granting preliminary injunction regarding public demonstrations sensitive-place
  6   designation and rejecting government’s citation “to several nineteenth-century statutes
  7   that prohibited firearms at public assemblies” on this basis); see also Kopel & Greenlee,
  8   The “Sensitive Places” Doctrine, 13 Charleston L. Rev. at 290–91 (arguing that “no
  9   ‘sensitive places’ precedent can be drawn from statutes that forbade bearing arms at all
 10   public assemblies or social gatherings” because “[a]lthough some of these laws were
 11   enacted long ago, none of them are longstanding, for every one of them has been
 12   repealed,” as “[e]very state that had such a law has replaced it with laws allowing
 13   licensed concealed carry, or open carry, in public places, including places of public
 14   assembly or social intercourse”). Second, the laws are not relevantly similar because
 15   SB2 poses a much greater burden than the historical analogues. While the cited
 16   analogues prohibit firearms in public gatherings like balls and fandangos for
 17   entertainment and amusement, SB2 prohibits trained and vetted CCW permitholders from
 18   carrying firearms at any public gathering or special event that requires a permit, even at
 19   religious or protest gatherings that may implicate other constitutional rights. See id.; cf.
 20   Darrell A. H. Miller, Constitutional Conflict and Sensitive Places, 28 Wm. & Mary Bill
 21   Rts. J. 459, 484 (2019) (suggesting an approach in which “the public square” is a
 22   permissible sensitive place because “[t]he implication is that any balancing between
 23   safety and risks along other constitutionally inflected margins—like speech or the
 24   fundamental right to vote—have been made already in defining the exception”).
 25

 26

 27

 28


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  1
                             e.      (11) Playgrounds and Youth Centers

  2
             Section 26230(a)(11) prohibits a CCW permitholder from carrying a firearm into
  3
      “a playground or public or private youth center, as defined in Section 626.95, and a street
  4
      or sidewalk immediately adjacent to the playground or youth center.” Section 626.95(c)
  5
      defines a “playground” as “any park or recreational area specifically designed to be used
  6
      by children that has play equipment installed, including public grounds designed for
  7
      athletic activities such as baseball, football, soccer, or basketball, or any similar facility
  8
      located on public or private school grounds, or on city or county parks.” And it defines a
  9
      “youth center” as “any public or private facility that is used to host recreational or social
 10
      activities for minors while minors are present.”
 11

 12
             Contrary to the government’s contention and other courts’ conclusions, 7 this
 13
      regulation is not supported by analogy to the “settled” notion that states may ban firearms
 14
      in schools. Constitutionally permissible “new and analogous sensitive places” must be
 15
      similar to existing sensitive places in both how and why the government burdens the right
 16
      to carry firearms for self-defense. Bruen, 597 U.S. at 29–30. Regulating firearms at
 17
      schools is different than playgrounds and youth centers in key ways. Rather than
 18
      delivering children to the state (sometimes with armed officers) for protection, at
 19
      playgrounds parents and caregivers remain responsible for their children’s safety without
 20
      any immediate support.8 And in contrast to the restricted grounds of a school where
 21

 22
      7
 23     See Siegel v. Platkin, 653 F. Supp. 3d 136, 152 (D.N.J. 2023) (granting preliminary injunctive relief
      regarding playgrounds because “schools and playgrounds intersect, that is, playgrounds fall within the
 24   sphere of schools,” and “[t]herefore, under Bruen, the Court ‘can assume it settled’ that playgrounds are
      a ‘sensitive place’”); We the Patriots, Inc. v. Grisham, 2023 WL 6622042, at *10 (D.N.M. Oct. 11,
 25   2023) (finding “that playgrounds are ‘sensitive places’” because they “are often associated with schools
      and therefore the inference that they are sensitive places under Bruen is appropriate”).
 26
      8
 27     Significantly, early regulation of firearms in schools applied only to students, not to faculty, staff, or
      other employees. Kopel & Greenlee, The “Sensitive Places” Doctrine, 13 Charleston L. Rev. at 250
 28   (stating that schools were “not a place where arms were forbidden to responsible adults”). Indeed, the
      government’s own expert notes the in loco parentis influence on early school weapons bans. (May Dkt.
                                                          -26-
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  1   unauthorized persons generally may not enter, playgrounds and youth centers are public,
  2   unrestricted spaces. Because SB2’s prohibition on CCW permitholders carrying firearms
  3   at playgrounds and youth centers eviscerates their ability to defend themselves and their
  4   children against attack, the burden it creates on the core Second Amendment right is far
  5   greater than the burden created by making schools a sensitive place. See Bruen, 597 U.S.
  6   at 31.
  7

  8
                            f.      (12) and (13) Parks and Athletic Facilities

  9
               Section 26230(a)(12) prohibits a CCW permitholder from carrying a firearm into
 10
      “a park, athletic area, or athletic facility that is open to the public and a street or sidewalk
 11
      immediately adjacent to those areas, provided this prohibition shall not apply to a
 12
      licensee who must walk through such a place in order to access their residence, place of
 13
      business, or vehicle.” And Section 26230(a)(13) prohibits them from carrying a firearm
 14
      into “[r]eal property under the control of the Department of Parks and Recreation or
 15
      Department of Fish and Wildlife, except those areas designated for hunting pursuant to
 16
      Section 5003.1 of the Public Resources Code, Section 4501 of Title 14 of the California
 17
      Code of Regulations, or any other designated public hunting area, public shooting
 18
      ground, or building where firearm possession is permitted by applicable law.” These
 19
      regulations are not consistent with this nation’s tradition of firearm regulation.
 20

 21
               The government argues that a historical tradition of regulating firearms in parks
 22
      exists because “[b]y 1900, the carrying of firearms was prohibited in more than two
 23
      dozen parks across at least ten different states,” including New York’s Central Park,
 24
      Philadelphia’s Fairmount Park, and San Francisco’s Golden Gate Park. (Opp. at 32–33
 25
      [citing May Dkt. 21-13, Declaration of Terence Young, ¶¶ 34–35, 37].) It contends that
 26

 27

 28   21-1 [Declaration of Holly Brewer] ¶ 22 [stating that university bans “reflect[ed] the degree of authority
      a state institution could wield over legal infants under its care”].)
                                                         -27-
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  1   earlier laws prohibiting carry in parks do not exist because “[p]ublic parks that resemble
  2   modern parks only began to emerge in the middle of the nineteenth century.” (Id.)
  3

  4         But even assuming these relatively few nineteenth-century laws are persuasive
  5   historical analogies, there is no evidence that they are well-established, representative, or
  6   consistent with a national tradition of prohibiting firearms in all public parks as SB2
  7   does. See Siegel v. Platkin, 653 F. Supp. 3d 136, 153 (D.N.J. 2023) (“Six cities do not
  8   speak for, what was by 1893, 44 states. Under Bruen, the state’s evidence is not
  9   sufficient for the broader proposition that carrying firearms can be forbidden in all public
 10   parks in the State of New Jersey.”) (citation omitted); Antonyuk v. Hochul, 639 F. Supp.
 11   3d at 325–26 (“In any event, even if the number and geographical origins of these city
 12   laws [prohibiting carry in public parks] (when combined with the two state laws
 13   previously mentioned) were sufficient to constitute a tradition that was established, they
 14   do not constitute a tradition that was representative of the Nation.”); Koons v. Platkin,
 15   2023 WL 3478604, at *85 (“That said, even if the State’s mid- to -late 19th century
 16   historical laws banning firearms at parks were well-established, the laws do not appear to
 17   be representative of the entire nation. By 1890, those laws—one state law and about 25
 18   local ordinances—governed less than 10% of the nation’s entire population and thus are
 19   unrepresentative.”).
 20

 21         Moreover, the historical laws presented are not relevantly similar to SB2 because
 22   SB2 restricts carry not at particular named parks or athletic facilities like those laws, but
 23   at all public parks and athletic facilities, of which there must be tens of thousands across
 24   California. SB2’s park restrictions are therefore extraordinarily more burdensome on the
 25   core Second Amendment right to self-defense than any of the historical analogues. See
 26   Wolford, 2023 WL 5043805, at *24 (“The State fails to meet its burden to show that there
 27   is a national historical tradition prohibiting carrying firearms in parks.”); Siegel, 653 F.
 28   Supp. 3d at 153 (D.N.J. 2023) (finding that the government “ha[d] not put forward

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  1   sufficient evidence at this juncture to justify their regulation of firearms in public parks”
  2   and “recreational facilities”). Indeed, because of the amount of land they cover, they
  3   come too close to “eviscerat[ing] the general right to publicly carry arms for self-
  4   defense.” Bruen, 597 U.S. at 31; see also People v. Chairez, 104 N.E.3d 1158, 1177 (Ill.
  5   2018) (striking down under old Second Amendment analysis prohibition on “possessing a
  6   firearm within 1000 feet of a public park” and noting that “the State conceded at oral
  7   argument that the 1000–foot firearm restriction zone around a public park would
  8   effectively prohibit the possession of a firearm for self-defense within a vast majority of
  9   the acreage in the city of Chicago because there are more than 600 parks in the city”);
 10   Bridgeville Rifle & Pistol Club, Ltd. v. Small, 176 A.3d 632, 661 (Del. 2017) (“The
 11   evisceration of the right to self-defense and defense of family in the entirety of Delaware
 12   State Parks and Forests is inconsistent with” the Delaware Constitution.).
 13

 14         Also unpersuasive is the government’s attempt to analogize parks to existing
 15   sensitive places like schools given “the people who congregate there, including
 16   particularly vulnerable groups such as children, the elderly, and those suffering from
 17   illness.” (Opp. at 28.) Parks and athletic facilities are frequented by adults and children,
 18   and by people in good health and poor. If public parks were similar enough to schools to
 19   qualify as a “sensitive place” by analogy, nearly any place could be categorized as
 20   sensitive and the government could effectively disarm CCW permitholders altogether.
 21

 22
                          g.     (15) Casinos, (16) Stadiums and Arenas, and
                                 (19) Amusement Parks
 23

 24
            Section 26230(a)(15) prohibits a CCW permitholder from carrying a firearm into
 25
      “[a] building, real property, or parking area that is or would be used for gambling or
 26
      gaming of any kind whatsoever, including, but not limited to, casinos, gambling
 27
      establishments, gaming clubs, bingo operations, facilities licensed by the California
 28
      Horse Racing Board, or a facility wherein banked or percentage games, any form of
                                                   -29-
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  1   gambling device, or lotteries, other than the California State Lottery, are or will be
  2   played.” Section 26230(a)(16) prohibits a permitholder from carrying a firearm into “[a]
  3   stadium, arena, or the real property or parking area under the control of a stadium, arena,
  4   or a collegiate or professional sporting or eSporting event.” And Section 26230(a)(19)
  5   prohibits a permitholder from carrying a firearm into “[a] building, real property, or
  6   parking area under the control of an amusement park.”
  7

  8         The government argues that banning firearms in all three of these places is justified
  9   by “the rich historical tradition of prohibiting the carry of firearms where people gather
 10   for social and entertainment purposes.” (Opp. at 26.) Again, it cites the 1786 Virginia
 11   terror in fair or markets law, the 1816 New Orleans “public ballroom” weapon coat check
 12   law, the 1853 New Mexico law banning firearms at “Balls or Fandangos,” and the 1882
 13   New Orleans law regulating carry in theaters, public halls, places for shows or
 14   exhibitions, or other places of public entertainment or amusement. (Id. at 26–27.) But
 15   the Virginia “terror” law and the nineteenth-century New Mexico and New Orleans laws
 16   do not reflect a well-established, representative historical tradition of preventing vetted
 17   and trained permitholders from carrying firearms for self-defense in casinos, stadiums,
 18   arenas, amusement parks, or similar locations. See Siegel, 653 F. Supp. 3d at 152
 19   (“Defendants have not come forward with strong historical evidence that the State may
 20   prohibit firearms at casinos or related facilities.”); see also B&L Prods., Inc. v. Newsom,
 21   2023 WL 7132054, at *16 (C.D. Cal. Oct. 30, 2023) (“[T]here is no historical basis for a
 22   public space such as the Orange County Fairgrounds to be designated as a sensitive
 23   space.”).
 24

 25
                          h.    (17) Public Libraries, (20) Zoos, and Museums

 26
            Section 26230(a)(17) prohibits a CCW permitholder from carrying a firearm into
 27
      “[a] building, real property, or parking area under the control of a public library.” And
 28


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  1   Section 26230(a)(20) prohibits one from carrying a firearm into “[a] building, real
  2   property, or parking area under the control of a zoo or museum.”
  3

  4         The government argues that “California’s prohibition of firearms within libraries,
  5   museums, and zoos falls naturally within the Nation’s historical tradition of regulating
  6   firearms in places of gathering for ‘literary,’ ‘educational,’ or ‘scientific purposes,’”
  7   citing the same laws it maintains justify SB2’s treatment of medical services facilities: an
  8   1870 Texas law prohibiting firearms in “any school room or other place where persons
  9   are assembled for educational, literary or scientific purposes,” (May Dkt. 22, Ex. 77), an
 10   1878 Mississippi law prohibiting “any student of any university, college or school” from
 11   carrying a concealed weapon, (id., Ex. 100), and an 1879 Missouri law prohibiting
 12   concealed carry in “any school room or place where people are assembled for
 13   educational, literary or social purposes,” (id., Ex. 103). (Opp. at 34.) But the
 14   government fails to show that the laws it cites are well-established, representative, or
 15   consistent with a tradition of regulating firearms by preventing people with special
 16   permits who have been through background checks and training from carrying firearms to
 17   defend themselves and their families in case of confrontation at libraries, zoos, or
 18   museums. Bruen, 597 U.S. at 24, 31; see Siegel, 653 F. Supp. 3d at 154–55 (enjoining
 19   regulation prohibiting permitholder carry in “a publicly owned or leased library or
 20   museum”); Antonyuk v. Hochul, 639 F. Supp. 3d at 327 (“Simply stated, the Court finds
 21   that, based on the analogues provided by the State Defendants (and located by the Court
 22   thus far), this state-imposed ban in ‘zoos’ is disproportionately burdensome as compared
 23   to its relevant historical analogues.”). The proffered analogies are not “relevantly
 24   similar” because SB2 imposes a far greater burden on the right to self-defense than the
 25   proffered historical analogues with non-comparable justifications. See Bruen, 597 U.S. at
 26   29. Similarly, the regulation pertaining to public libraries, zoos, and museums is not
 27   justified by analogy to the “settled” sensitive place of schools. Adults also frequent
 28


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  1   public libraries, zoos, and museums, and when their children are present in those places,
  2   adults remain responsible for their safety.
  3

  4
                          i.    (22) Places of Worship

  5
            Section 26230(a)(22) prohibits a CCW permitholder from carrying a firearm into
  6
      “[a] church, synagogue, mosque, or other place of worship, including in any parking area
  7
      immediately adjacent thereto, unless the operator of the place of worship clearly and
  8
      conspicuously posts a sign at the entrance of the building or on the premises indicating
  9
      that licenseholders are permitted to carry firearms on the property. Signs shall be of a
 10
      uniform design as prescribed by the Department of Justice and shall be at least four
 11
      inches by six inches in size.”
 12

 13
            The parties agree that in the Founding era, there were “statutes all over America
 14
      that required bringing guns into churches, and sometimes to other public assemblies.”
 15
      Kopel & Greenlee, The “Sensitive Places” Doctrine, 13 Charleston L. Rev. at 242; id. at
 16
      233 n.108 (collecting laws); see Koons v. Platkin, 2023 WL 3478604, at *21 (“[S]everal
 17
      colonial governments passed laws requiring colonists to bring arms to church and public
 18
      assemblies. . . .”); (Cramer Decl. ¶¶ 93–101 [collecting laws]). They disagree, however,
 19
      about the weight the Court should give these laws since they appear to have been aimed
 20
      at allowing people “to defend against attacks from Native Americans and to suppress
 21
      slave revolts.” Koons v. Platkin, 2023 WL 3478604, at *21; see Goldstein v. Hochul,
 22
      2023 WL 4236164, at *14 (S.D.N.Y. June 28, 2023) (“The laws cited by Plaintiffs
 23
      concerning the mandatory carry of firearms in places of worship are rooted in racial
 24
      supremacy, and had the reprehensible and shameful goal of preserving slavery. They
 25
      should not be considered or at a minimum deserve little or no weight in the analysis of
 26
      the history and tradition of the regulation of firearm carry by law-abiding citizens for
 27
      self-defense.”); (Cramer Decl. ¶ 102 [explaining that these laws “were in response to fear
 28


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  1   of attack by Indians or slaves, depending on the colony and year”]). The government
  2   contends that more appropriate historical analogues are laws from the late nineteenth
  3   century prohibiting carrying firearms to churches, religious assemblies, and places of
  4   public worship in Georgia, Texas, Missouri, Virginia, Arizona, and Oklahoma, and
  5   various localities. (Opp. at 12–13.)
  6

  7          Even giving little weight to the mandatory carry laws from the Founding era, the
  8   government fails to present evidence of a history and tradition of prohibiting trained and
  9   vetted permitholders from carrying handguns for self-defense in places of worship where
 10   in this day and age they are increasingly likely to meet confrontation. 9 See Hardaway,
 11   639 F. Supp. 3d at 442 (enjoining similar law when government presented only “a
 12   handful of seemingly spasmodic enactments involving a small minority of jurisdictions
 13   governing a small minority of population” that “are far too remote, far too anachronistic,
 14   and very much outliers—insufficient, then, in the search for an American tradition”).
 15   There is no indication that these laws are well-established or representative. See Brief of
 16   Amicus Curiae the Independent Institute in Support of Petitioners, New York State Rifle
 17   & Pistol Ass’n, Inc. v. Bruen, 2021 WL 3127146, *16 (“In the late 19th century, a small
 18   handful of states experimented with broader gun-free zone legislation that sought to bar
 19   individuals from carrying firearms in churches or social gatherings. These laws were
 20   short-lived, represented deviations from the laws of most other States, and should not
 21   provide any insight into the original meaning of the Second Amendment given their
 22   temporal distance from the Founding.”). The Second Amendment gives law-abiding
 23   individuals the right to carry firearms for self-defense outside the home, and “[n]othing in
 24   the Nation’s history or traditions presumptively closes the door on that right across every
 25   place of worship or religious observation.” Hardaway, 639 F. Supp. 3d at 443; see
 26

 27
      9
       SB2’s preamble recognizes that “mass shootings motivated by religious hate” are on the rise and that
 28   evidence “suggest[s] that there are about 480 incidents of serious violence at places of worship in the
      United States each year.” 2023 Cal. Legis. Serv. Ch. 249 (S.B. 2).
                                                         -33-
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  1   Antonyuk v. Hochul, 639 F. Supp. 3d at 322 (granting preliminary injunction regarding
  2   law making “any place of worship or religious observation” a sensitive place).
  3

  4
                          j.     (23) Financial Institutions

  5
            Section 26230(a)(23) prohibits a CCW permitholder from carrying a firearm into
  6
      “[a] financial institution or parking area under the control of a financial institution.” Even
  7
      applying a more nuanced approach, as the government urges, this regulation is
  8
      inconsistent with the Second Amendment.
  9

 10
            The government has not cited a single historical regulation in which guns were
 11
      prohibited in banks. See Wolford, 2023 WL 5043805, at *25 (issuing temporary
 12
      restraining order against sensitive place law regarding banks and financial institutions).
 13
      Rather, it argues that this regulation is relevantly similar to laws prohibiting carry in
 14
      government buildings and schools.
 15

 16
            Comparing to government buildings, the government argues that banks “are central
 17
      to the functioning of the financial system,” “are targets of armed and potentially violent
 18
      robberies,” and “are spaces that are particularly attractive to coordinated attacks by
 19
      groups, including those with links to terrorism.” (Opp. at 14–15.) But historical laws
 20
      protecting government buildings are not relevantly similar to SB2’s prohibition on CCW
 21
      permitholders carrying firearms for self-defense at banks, which creates a far larger
 22
      burden on the law-abiding citizen’s Second Amendment right to self-defense. While the
 23
      historical laws were aimed at protecting the operation of one of the three branches of
 24
      government and did so by disarming people in spaces they were not likely to frequent in
 25
      their everyday lives where people stood guard at the entry to the building to ensure that
 26
      no one was carrying a weapon, SB2 disarms particularly law-abiding citizens in a place
 27

 28


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  1   more peripherally related to democracy that they visit in the routine course and where any
  2   provided security does not ensure that visitors are not carrying a weapon.
  3

  4         The government’s comparison to schools is an even bigger stretch. It contends that
  5   banks are like schools because they “are frequented by vulnerable populations such as the
  6   elderly.” (Opp. at 14.) But nonvulnerable populations are just as likely to visit banks as
  7   vulnerable populations. Accepting a comparison between schools and banks in this
  8   context would condone eviscerating law-abiding citizens’ Second Amendment right to
  9   carry a firearm in public for self-defense altogether. See Bruen, 597 U.S. at 31.
 10

 11
                         k.     (26) Privately-Owned Businesses Open to the Public

 12
            Section 26230(a)(26) prohibits a CCW permitholder from carrying a firearm into
 13
      “[a]ny other privately owned commercial establishment that is open to the public, unless
 14
      the operator of the establishment clearly and conspicuously posts a sign at the entrance of
 15
      the building or on the premises indicating that licenseholders are permitted to carry
 16
      firearms on the property. Signs shall be of a uniform design as prescribed by the
 17
      Department of Justice and shall be at least four inches by six inches in size.”
 18

 19
            To justify this provision, the government offers the following historical analogues:
 20
      a 1721 Pennsylvania law making it a crime to “carry any gun or hunt on the improved or
 21
      inclosed lands of any plantation other than his own, unless he have license or permission
 22
      from the owner of such lands or plantation,” (May Dkt. 22, Ex. 17), a 1722 New Jersey
 23
      law providing for criminal penalties “if any Person or Persons shall presume . . . to carry
 24
      any Gun, or hunt on the improved or inclosed Lands in any Plantation, other than his
 25
      own, unless he have License of Permission from the Owner of such Lands or Plantation,”
 26
      (id., Ex. 18), a 1763 New York law making it a crime to carry a “Musket, Fowling-Piece,
 27
      or other Fire-arm whatsoever, into, upon, or through any . . . inclosed Land whatever . . .
 28


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  1   without License in Writing first had and obtained for that Purpose from such Owner,
  2   Proprietor, or Possessor,” (id., Ex. 25), a 1771 New Jersey statutory update providing for
  3   penalties for those who “carry any Gun on any Lands not his own, and for which the
  4   Owner pays Taxes, or is in his lawful Possession, unless he hath License or Permission in
  5   writing from the Owner or Owners or legal Possessor,” (id., Ex. 26), an 1865 Louisiana
  6   law prohibiting “the carrying of fire-arms on premises or plantations of any citizen”
  7   without the owner’s consent, (id., Ex. 65), an 1866 Texas law making it unlawful “to
  8   carry firearms on the inclosed premises or plantation of any citizen, without the consent
  9   of the owner or proprietor,” (id., Ex. 68), and an 1893 Oregon law making it unlawful to
 10   be “armed with a gun, pistol, or other firearm, to go or trespass upon any enclosed
 11   premises or lands without the consent of the owner or possessor thereof,” (id., Ex. 163).
 12

 13         These laws are not relevantly similar to SB2’s restriction on CCW permitholders
 14   carrying firearms for self-defense to private businesses open to the public. First, at least
 15   three of the proffered analogues were “motivated by a substantially different reason
 16   (deterring unlicensed hunting) than the restricted location regulation (preventing gun
 17   violence).” Antonyuk v. Chiumento, 2023 WL 8518003, at *84 (analyzing the 1721
 18   Pennsylvania statute, 1722 New Jersey statute, and 1763 New York statute). Indeed, the
 19   1721 Pennsylvania law and the 1722 New Jersey law are both titled “An Act to Prevent
 20   the Killing of Deer out of Season, and Against Carrying of Guns or Hunting by Persons
 21   Not Qualified,” and the 1763 New York law is titled “An Act to prevent hunting with
 22   Fire-Arms in the City of New-York.” (Carralero Reply at 13–14.)
 23

 24         More broadly, all of these analogues burdened the Second Amendment right “only
 25   on private lands not open to the public.” Antonyuk v. Chiumento, 2023 WL 8518003, at
 26   *84 (explaining that “the historical record indicates that ‘land,’ ‘improved or inclosed
 27   land’ and ‘premises or plantations’ would have been understood to refer to private land
 28   not open to the public”). “Given that most spaces in a community that are not private

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  1   homes will be composed of private property open to the public to which [this provision]
  2   applies, the restricted location provision functionally creates a universal default
  3   presumption against carrying firearms in public places, seriously burdening lawful gun
  4   owners’ Second Amendment rights” in a way that “is entirely out of step with that
  5   imposed by the proffered analogues, which appear to have created a presumption against
  6   carriage only on private property not open to the public.” Id. at *84.10
  7

  8          Simply put, “[t]he Nation’s historical tradition is that individuals may carry arms
  9   on private property unless the property owner chooses otherwise.” Christian, 642 F.
 10   Supp. 3d at 407 n.19. Although private property owners have a right to forbid concealed
 11   carry on their property, “the state may not unilaterally exercise that right and, thereby,
 12   interfere with the Second Amendment rights of law-abiding citizens who seek to carry for
 13   self-defense outside of their own homes.” Id. at 398; see Koons v. Platkin, 2023 WL
 14   3478604, at *68 (preliminarily enjoining similar regulation); Kipke, 2023 WL 6381503,
 15   at *14 (same); Wolford, 2023 WL 5043805, at *27 (“What § 134-E does, and what
 16   cannot be constitutionally permitted, is remove the presumption of the right to carry a
 17   firearm on private property held open to the public.”); Siegel, 653 F. Supp. 3d at 157–58
 18   (granting TRO on similar regulation).
 19

 20
                            l.      Parking Areas

 21
             Finally, Plaintiffs challenge SB2’s sensitive-place designation of parking lots as to
 22
      all of Section 26230’s subdivisions. Of course, parking areas associated with places the
 23
      Court has determined are not sensitive are also not sensitive. But there are certain places
 24

 25

 26   10
        Notably, this provision poses a practical problem since a person may not approach the business with
 27   their firearm to get close enough to see the four-by-six-inch sign Section 26230(a)(26) requires without
      violating the statute. In other words, a person must “constantly disarm” and “stop carrying for self-
 28   defense before” they “can get physically close enough to see if any ‘clear and conspicuous signage’
      exists.” Christian, 642 F. Supp. 3d at 400 (quoting the plaintiff’s declaration).
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  1   SB2 designates as sensitive places that Plaintiffs do not challenge. Those include
  2   preschool or childcare facilities (Section 26230(a)(2)), buildings under the control of an
  3   officer of the executive or legislative branch of the state government ((a)(3)), buildings
  4   designated for court proceedings ((a)(4)), buildings under the control of a unit of local
  5   government ((a)(5)), prisons and jails ((a)(6)), colleges and universities ((a)(14)), airports
  6   ((a)(18)), nuclear sites ((a)(21)), police stations ((a)(24)), and polling places ((a)(25)).
  7   Plaintiffs challenge these sections only as they apply to parking areas and public
  8   appurtenant areas adjacent to those sensitive places, arguing that even truly sensitive
  9   places’ “parking areas cannot also be sensitive based on mere spatial relationship,
 10   because banning public carry to and from a sensitive place would be an overbroad
 11   application of the limited, though legitimate, sensitive places doctrine.” (May Mot. at 4;
 12   May Reply at 8.)
 13

 14         The Court agrees that even in relation to places Plaintiffs do not challenge as
 15   sensitive, SB2’s designation of parking areas as sensitive places is inconsistent with the
 16   Second Amendment. Both Heller and McDonald describe sensitive places where carry
 17   may be prohibited using the preposition “in,” not “near” or “around.” Kopel & Greenlee,
 18   The “Sensitive Places” Doctrine, 13 Charleston L. Rev. at 291–92 (citing Amy Hetzner,
 19   Comment, Where Angels Tread: Gun-Free School Zone Laws and an Individual Right to
 20   Bear Arms, 95 Marq. L. Rev. 359 (2011)). And SB2’s designation of parking areas as
 21   sensitive places imposes a much larger burden on law-abiding citizens’ right to carry
 22   arms for self-defense in public than banning them in the sensitive places themselves.
 23

 24         The government argues that it may designate as sensitive parking lots associated
 25   with government buildings because “just as a private property owner may control conduct
 26   on its own land, the government holds a similar right when it operates as a proprietor.”
 27   (Opp. at 11.) But “the State is not exempt from recognizing the protections afforded to
 28   individuals by the Constitution simply because it acts on government property.” Koons v.

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  1   Platkin, 2023 WL 3478604, at *51; cf. Wolford, 2023 WL 5043805, at *20 (stating that
  2   the government’s status as proprietor “may have been relevant when assessing Second
  3   Amendment challenges under a means-end scrutiny test,” but questioning its relevance in
  4   the Bruen analysis).
  5

  6         B.     Irreparable Harm
  7

  8         To obtain a preliminary injunction, a plaintiff must show that irreparable harm is
  9   likely in the absence of preliminary relief. Winter, 555 U.S. at 20. “The right to keep
 10   and bear arms has long been recognized as a fundamental civil right.” Rahimi, 61 F.4th
 11   at 461 (Ho, J., concurring) (citing Johnson v. Eisentrager, 339 U.S. 763, 784
 12   (1950); Konigsberg v. State Bar of Cal., 366 U.S. 36, 49–50 n.10 (1961)). It “is well
 13   established that the deprivation of constitutional rights unquestionably constitutes
 14   irreparable injury.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (cleaned
 15   up); Warsoldier v. Woodford, 418 F.3d 989, 1001–02 (9th Cir. 2005) (explaining that a
 16   party seeking preliminary injunctive relief for violation of a constitutional right can
 17   establish irreparable injury sufficient to merit the grant of relief by demonstrating the
 18   existence of a colorable constitutional claim); see Elrod v. Burns, 427 U.S. 347, 373
 19   (1976) (“[I]njuries to constitutional rights are considered irreparable for even minimal
 20   periods of time.”) (cleaned up); Goldie’s Bookstore, Inc. v. Superior Ct. of State of Cal.,
 21   739 F.2d 466, 472 (9th Cir. 1984) (“An alleged constitutional infringement will often
 22   alone constitute irreparable harm.”); Wright and Miller, 11A Fed. Prac. & Proc. Civ.
 23   § 2948.1 (3d ed. 2019) (“When an alleged deprivation of a constitutional right is involved
 24   . . . most courts hold that no further showing of irreparable injury is necessary.”); Junior
 25   Sports Mags., 80 F.4th at 1120 (explaining that when a party shows a likelihood of
 26   success on the merits of a constitutional claim, “the remaining Winter factors favor
 27   enjoining the likely unconstitutional law”). “If a plaintiff bringing [a constitutional]
 28   claim shows he is likely to prevail on the merits, that showing will almost always

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  1   demonstrate he is suffering irreparable harm as well.” Baird, 81 F.4th at 1042. Because
  2   Plaintiffs have shown it is likely that the challenged SB2 provisions violate their Second
  3   Amendment rights, they have demonstrated that irreparable harm is likely without a
  4   preliminary injunction enjoining the government from enforcing those provisions.
  5

  6         C.     Balance of Equities and Public Interest
  7

  8         Before issuing a preliminary injunction, “courts must balance the competing claims
  9   of injury and must consider the effect on each party of the granting or withholding of the
 10   requested relief.” Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 866 (9th Cir.
 11   2017); CTIA - The Wireless Association v. City of Berkeley, 928 F.3d 832, 852 (9th Cir.
 12   2019). “When the government is a party, the last two factors merge.” California v. Azar,
 13   911 F.3d 558, 575 (9th Cir. 2018). “A plaintiff’s likelihood of success on the merits of a
 14   constitutional claim also tips the merged third and fourth factors decisively in his favor.”
 15   Baird, 81 F.4th at 1040.
 16

 17         The balance of the equities and the public interest weigh in favor of granting an
 18   injunction here. Without a preliminary injunction enjoining enforcement of the
 19   challenged SB2 provisions, Plaintiffs will suffer harm because the government will
 20   infringe their Second Amendment rights. “It is always in the public interest to prevent
 21   the violation of a party’s constitutional rights.” Cal. Chamber of Commerce v. Council
 22   for Educ. and Research on Toxics, 29 F.4th 468, 482 (9th Cir. 2022) (cleaned up).
 23   Indeed, “public interest concerns are implicated when a constitutional right has been
 24   violated, because all citizens have a stake in upholding the Constitution.” Preminger v.
 25   Principi, 422 F.3d 815, 826 (9th Cir. 2005); see Klein v. City of San Clemente, 584 F.3d
 26   1196, 1208 (9th Cir. 2009) (explaining that it is in the public interest to halt the “ongoing
 27   enforcement of the potentially unconstitutional regulations” because those regulations
 28   would infringe not only on the constitutional rights of the plaintiffs but also of the rest of

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  1   the public subject to the same regulation); Junior Sports Mags., 80 F.4th at 1120
  2   (explaining that when a party shows a likelihood of success on the merits of a
  3   constitutional claim, “the remaining Winter factors favor enjoining the likely
  4   unconstitutional law”).
  5

  6         Moreover, the government “cannot suffer harm from an injunction that merely
  7   ends an unlawful practice” such as denying Californians’ Second Amendment rights.
  8   Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013). The balance of the equities
  9   therefore tips in Plaintiffs’ favor. Although the government may have some valid safety
 10   concerns, legislation regulating CCW permitholders—the most responsible of law-
 11   abiding citizens seeking to exercise their Second Amendment rights—seems an odd and
 12   misguided place to focus to address those safety concerns. Wolford, 2023 WL 5043805,
 13   at *32 (“Although the State raises important safety concerns, it fails to demonstrate that
 14   the public safety concerns overcome the public’s interest in preventing constitutional
 15   violations. This is particularly relevant for this analysis because the challenged provisions
 16   only affect those individuals who have been granted a permit to carry firearms, either
 17   openly or concealed.”); (Marvel Decl. ¶ 14 [agreeing with the California State Sheriffs’
 18   Association that “[i]nstead of focusing on a law-abiding population, efforts should
 19   address preventing gun crimes committed by those who disobey the law and holding
 20   them accountable”]); Mark W. Smith, Enlightenment Thinker Cesare Beccaria and His
 21   Influence on the Founders: Understanding the Meaning and Purpose of the Second
 22   Amendment’s Right to Keep and Bear Arms, 2020 Pepp. L. Rev. 71 (2020) (quoting
 23   eighteenth-century Italian thinker Cesare Beccaria, who was “deeply influential on the
 24   American Founders’ views of criminal law and theory, as writing, “[t]he laws that forbid
 25   the carrying of arms . . . disarm those only who are neither inclined nor determined to
 26   commit crimes” and “make things worse for the assaulted and better for the assailants;
 27   they serve rather to encourage than to prevent homicides, for an unarmed man may be
 28   attacked with greater confidence than an armed man”).

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  1         Simply put, CCW permitholders are not the gun wielders legislators should fear.
  2   See Wolford, 2023 WL 5043805, at *32 (noting that “the challenged provisions only
  3   impact a substantially small subset of gun owners and, thus, the State’s public safety
  4   argument is not persuasive,” and also that “the vast majority of conceal carry permit
  5   holders are law-abiding”). Indeed, CCW permitholders are not responsible for any of the
  6   mass shootings or horrific gun violence that has occurred in California. See Koons v.
  7   Platkin, 2023 WL 3478604, at *108 (“And herein lies the problem: despite ample
  8   opportunity for an evidentiary hearing, the State has failed to offer any evidence that law-
  9   abiding responsible citizens who carry firearms in public for self-defense are responsible
 10   for an increase in gun violence.”). The Violence Policy Center collects statistics
 11   regarding non-self-defense killings CCW permitholders have committed since 2007.
 12   Violence Policy Center: Concealed Carry Killers, available at
 13   https://concealedcarrykillers.org/. In the sixteen years since that time, there is only
 14   evidence of four such incidents in California, with five total associated deaths. Id. at
 15   https://concealedcarrykillers.org/california/; see Wolford, 2023 WL 5043805, at *32
 16   (citing Gun Owners of America amicus brief stating that Texas in 2020 had 1,441
 17   convictions for aggravated assault with a deadly weapon but only four of those
 18   convictions were people with valid concealed carry permits – roughly 0.278% of the
 19   total); (see May Mot. at 31–34 [collecting similar statistics for Florida, Illinois,
 20   Minnesota, and Wisconsin]).
 21

 22         “The public has a significant interest in the strong sense of the safety that a
 23   licensed concealed handgun regularly provides, or would provide, to the many law-
 24   abiding responsible citizens in the state too powerless to physically defend themselves in
 25   public without a handgun.” Hardaway, 639 F. Supp. 3d at 445. Contrary to this interest,
 26   SB2 requires that law-abiding citizens open themselves up for slaughter at the hands of
 27   people flaunting the law and creates numerous areas ripe for mass murder by ensuring
 28   there is no one there to protect people before “the intervention of society in his behalf.”

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  1   Heller, 554 U.S. at 594–95; (see Marvel Decl. ¶ 7 [“[S]omeone intent on committing a
  2   mass murder will likely chose to do so in a ‘sensitive’ place, where he or she is less likely
  3   to encounter armed victims.”]); Hardaway, 639 F. Supp. 3d at 445 (finding a preliminary
  4   injunction in the public interest because without one, “the challenged law creates a
  5   vulnerable population of attendees at places of worship left to the whims of potential
  6   armed wrongdoers who are uninterested in following the law in any event”).
  7

  8   IV.   CONCLUSION
  9

 10         The Second Amendment preserves a fundamental constitutional right for law-
 11   abiding citizens to keep and bear arms for self-defense. Increasingly in modern times,
 12   with “the ubiquity of guns and our country’s high level of gun violence,” ordinary law-
 13   abiding people feel a need to carry handguns in public to protect themselves and their
 14   families against violence. Bruen, 597 U.S. at 73 (Alito, J., concurring). This may be
 15   because they “live in high-crime neighborhoods,” or because they “must traverse dark
 16   and dangerous streets in order to reach their homes after work or other evening
 17   activities,” or because they “reasonably believe that unless they can brandish or, if
 18   necessary, use a handgun in the case of attack, they may be murdered, raped, or suffer
 19   some other serious injury.” Id. CCW permitholders are among the most responsible,
 20   reliable law-abiding citizens. They have been through a vigorous vetting and training
 21   process following their application to carry a concealed handgun. The challenged SB2
 22   provisions unconstitutionally deprive this group of their constitutional right to carry a
 23   handgun in public for self-defense. Therefore, those provisions must be preliminarily
 24   enjoined.
 25
            DATED:        December 20, 2023
 26
                                                     __________________________________
 27
                                                           CORMAC J. CARNEY
 28
                                                    UNITED STATES DISTRICT JUDGE
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                         Attachment B
                           Preliminary Injunction (Dkt. 42)
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   8                          UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10                                  SOUTHERN DIVISION
  11
         RENO MAY, et al.,                      )
                                                ) Case Nos.: SACV 23-01696-CJC (ADSx)
  12                                            )            SACV 23-01798-CJC (ADSx)
                     Plaintiffs,                )
  13                                            )
               v.                               )
  14                                            ) PRELIMINARY INJUNCTION
                                                )
  15
         ROBERT BONTA, in his official          )
                                                )
  16     capacity as Attorney General of the    )
         State of California, and DOES 1-10,    )
  17                                            )
                                                )
  18                 Defendant.                 )
                                                )
  19                        AND                 )
                                                )
  20                                            )
         MARCO ANTONIO CARRALERO, et )
  21     al.,                                   )
                                                )
  22                                            )
                     Plaintiffs,                )
  23                                            )
               v.                               )
  24                                            )
                                                )
  25
         ROB BONTA, in his official capacity as )
                                                )
  26     Attorney General of California,        )
                                                )
  27                                            )
                     Defendant.                 )
  28
                                                )
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  1            This matter came before the Court on Plaintiffs’ motions for a preliminary
  2      injunction. (May Dkt. 13; Carralero Dkt. 6.) On December 20, 2023, the Court issued
  3      an order determining that the challenged provisions of Senate Bill 2 are unconstitutional,
  4      and granting a preliminary injunction enjoining enforcement of those provisions.
  5

  6            Now, therefore, IT IS HEREBY ORDERED that Defendant Attorney General
  7      Robert Bonta, and his officers, agents, servants, employees, and attorneys, and those
  8      persons in active concert or participation with him, and those duly sworn state peace
  9      officers and federal law enforcement officers who gain knowledge of this injunction
  10     order or know the existence of this injunction order, ARE HEREBY
  11     PRELIMINARILY RESTRAINED AND ENJOINED from implementing or
  12     enforcing California Penal Code § 26230(a)(7), (8), (9), (10), (11), (12), (13), (15), (16),
  13     (17), (19), (20), (22), (23), and (26) against any individuals with permits to carry a
  14     concealed weapon issued under California Penal Code sections 26150 or 26155. They
  15     are also PRELIMINARILY RESTRAINED AND ENJOINED from implementing or
  16     enforcing California Penal Code § 26230 as it pertains to parking areas.
  17

  18     DATED:       December 20, 2023
  19                                                   __________________________________
  20                                                          CORMAC J. CARNEY
  21                                                   UNITED STATES DISTRICT JUDGE
  22

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                             CERTIFICATE OF SERVICE

   Case Names:      Carralero, Marco Antonio, et al. v. Rob Bonta
   Case Nos.        8:23-cv-01798-CJC (ADSx)


   I hereby certify that on December 22, 2023, I electronically filed the following
   document with the Clerk of the Court by using the CM/ECF system:

      1. NOTICE OF APPEAL (with Attachments A-B)

      2. REPRESENTATION STATEMENT
   I certify that all participants in the case are registered CM/ECF users and that
   service will be accomplished electronically by the CM/ECF system.
   I declare under penalty of perjury under the laws of the State of California and the
   United States of America the foregoing is true and correct.
   Executed on December 22, 2023, at San Francisco, California.


               Vanessa Jordan
                 Declarant                                    Signature
